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UN|TED STATES D|STR|CT COURT
WESTERN DlSTRlCT OF TENNESSEE
N|E|V|PH|S DIV|S|ON

 

UN|TED STATES OF AlV|EF{|CA

 

-V- 04-20077-02-N'la

JERRA LYK|NS
T. Clifton Harvie| Jr. CJA
Defense Attorney
50 North Front Street, Suite 999
lVlemphis,Tennessee 38103

 

 

JUDGNIENT lN A CR|NI|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 5 of the indictment on January 27, 2005. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s}:

Date Count
Title & Section M@_S§ Offense Number(st
Conc|uded
18 U.S.C. § 2252(l;)) Conspiracyto transport child pornography 11/18/2003 5

The defendant is sentenced as provided in the following pages of this judgment The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Vlctims Fiestitutlon Act of 1996.

iT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. l\lo. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 09/23/1971 lVlay 13, 2005
Deft’s U.S. l\/larshal l\lo.:

Defendant’s l\/lailing Address:
1333 Liberty Fioad
West l_iberty, KY 41472

M(//Wl_.__

SAl\/|UE|_ l~|. N|AYS, JFi.
UN|TED STATES DlSTFt|CT JUDGE

l¥

 

l\/lay , 2005

this document entered on the docketcs}teet in compliance
with Rule 55 and/or 32(b) FFlCrP on ’ "

 

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Case No: 04-20077-02-Ma
Defendant Narne: Jerra Lykins Page 2 of 5

INIPRISONIV|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of sixty (60) months

The Court recommends to the Bureau of Prisons:

That defendant be designated to a facility where she can receive mentai health
treatment and sex offender treatment

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States l\/larsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES l\/lAFiSHAl_
By:

 

Deputy U. S. lVlarshal

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Case No: 04-20077-02-Ma
Defendant Name: Jerra Lykins Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons_

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|TIONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district Without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall vvorl< regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or othezr acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinafysis tests as
directed by the probation officer to determine the use of any controlled substancer

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Jerra Lykins Page 4 of 5

10. The defendant sha|t notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal l\/lonetary F’ena|ties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall participate as directed in a program of mental health treatment
including a sexual offender treatment program, approved by the probation officer. You shall
abide by the rules, requirements, and conditions of the treatment program, including
submitting to polygraph testing, at your own expense, to aid in the treatment and supervision
process. The results of the polygraph examination may not be used as evidence in Court
to prove that a violation of community supervision has occurred but may be considered in
a hearing to modify release conditionsl Further, the defendant shall be required to
contribute to the costs of services for such treatment in an amount determined reasonable
by the probation officer.

3. Defendant’s employment and change of address must be approved bythe Probation Officer.

4. Defendant’s place of residence may not be close in proximity to parks, playgrounds, public
pools, or other locations frequented by chl|dren.

5_ Defendant may not directly or indirectly have Contact with any child under age 18; may not
reside with any child under 18; and may not loiter near school yards, playgrounds, swimming
poo|s, arcades, or other places frequented by children.

6. Defendant may not possess any pornography

7. Defendant may not use sexually oriented telephone numbers or services

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Defendant Name: Jerra Lyl<ins Page 5 of 5
8. Defendant must abide by an evening curfew as set by the probation officer.
9. Defendant shall not possess, or use, a computer with access to any “0n line computer

service" at any location (including employment) without the prior approval of the probation
officer. This includes any lnternet Service provider, bulletin board system, or any other
public or private network or e-mail system.

10. Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|IV||NAL NlONETAFlY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately.

F|NE
No fine imposed

REST|TUTiON
No Ftestitution was ordered

   

UNITED TESAT DISTRIC COUR - WEErn\iST DITRIC 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:04-CR-20077 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Dan NeWSom

U.S. ATTORNEY'S OFFICE
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Ste. 800

i\/lemphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

